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CLERK, US. DISTRICT COURT |
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BY
UNITED STATES DISTRICT COURT 7. &
CENTRAL DISTRICT OF CALIFORNIA

CASE NUMBER:
Plaintiff(s) CR 0 TH 6PI~ l

STATEMENT OF DEFENDANT'S
CHALLES LYNCH CONSTITUTIONAL RIGHTS

Defendant(s)

United States of America,

You are here for arraignment and plea upon an indictment or information filed against you, a copy of which
will be given to you.

You are entitled to a speedy and public trial by jury. If you wish to waive a jury trial, you must be tried by the
Court sitting without a jury.

You are entitled to be represented by an attorney at all stages of the proceedings against you. If you do not
have the funds or the means to hire a lawyer, tell the Magistrate Judge and he/she will appoint an attorney from
the Indigent Defense Panel or the office of the Federal Public Defender to represent you without cost to you.

You are entitled to see and hear the evidence and cross-examine the witnesses against you. You are entitled to
the processes of the Court to subpoena witnesses on your behalf without cost to you if you are indigent. It is
not necessary to prove your innocence. It is the burden of the government to prove, by competent evidence,
your guilt beyond a reasonable doubt.

If you desire to plead guilty, you will be further questioned by a Court to ascertain whether or not your plea is
voluntary. In the event your plea is accepted, the Court will sentence you after referral to the Probation Officer
for a presentence report. This procedure usually takes about ten (10) weeks. Before accepting a plea of guilty,
the Judge expects that you have discussed your case fully with your lawyer and have been fully advised of all
the defenses you may have. You will be expected to know the maximum and minimum sentence you can
receive on your plea of guilty.

Do not plead guilty unless you are, in fact, guilty of the charges made against you in the indictment or information.
Do not plead guilty if there have been any threats made against you or any member of your family by anyone.
Do not plead guilty if there have been any promises of leniency or a particular sentence made to you by
anyone, including your own lawyer. No one has the authority to make any promises to you concerning sentence.

Your case will be referred to one of the Judges of this Court for all other proceedings. The name of the Judge
will be drawn after your arraignment and all further proceedings will be before that Judge.

(continued on Page 2)

STATEMENT OF DEFENDANT'S CONSTITUTIONAL RIGHTS

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ACKNOWLEDGMENT OF DEFENDANT:

] have read the above Statement of Rights and understand them. J do not require a translation of this statement
nor do I require an interpreter for court proceedings.

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Signature of Defendant

for]
I have personally heard a translation in the language read to me and
understand the above Statement of Rights.
Dated:
Signature of Defendant
STATEMENT OF THE INTERPRETER:
I have translated the Statement of Rights to the Defendant in the language.

Dated:

Signature of Interpreter

Print Name of interpreter

STATEMENT OF COUNSEL:

I am satisfied that the defendant has read this Statement of Rights or has heard the interpretation thereof and
that he/she understands them.

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J 7 Signature of. Aig ney
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STATEMENT OF DEFENDANT'S CONSTITUTIONAL RIGHTS

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